AO 257 (Rev. 6/78)        Case 3:25-cr-00053-WHO                          Document 1-2               Filed 02/26/25            Page 1 of 1
                                                                                                                                                      Print Form
       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION                 INDICTMENT                           Name of District Court, and/or Judge/Magistrate Location
                                                               SUPERSEDING                            NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                SAN FRANCISCO DIVISION
 Title 18, United States Code, Section 1030(a)(2)(C)--                    Petty
 Obtaining Information from a Protected Computer
                                                                          Minor              DEFENDANT - U.S
                                                                          Misde-
                                                                          meanor
                                                                                            NOAH ROSKIN-FRAZEE
                                                                          Felony
                                                                                                DISTRICT COURT NUMBER
PENALTY:       1 year imprisonment
               $100,000 fine                                                                    3:25-cr-00053 MAG
               Restitution
               1-5 years supervised release; probation of up to 5 years
               $25 special assessement
                                                                                                                          DEFENDANT
                              PROCEEDING                                                          IS NOT IN CUSTODY
                                                                                                    Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                 1)       If not detained give date any prior
                                        FBI
                                                                                                    summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                         2)       Is a Fugitive
       give name of court
                                                                                           3)       Is on Bail or Release from (show District)

                                                                                                                   Northern District of California
       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                  IS IN CUSTODY
                                                                                           4)       On this charge
       this is a reprosecution of

                                                                                                                                     }
       charges previously dismissed                                                        5)       On another conviction
       which were dismissed on motion                             SHOW                                                                         Federal         State


                                                          }
       of:                                                      DOCKET NO.
                                                                                           6)       Awaiting trial on other charges
             U.S. ATTORNEY               DEFENSE
                                                                                                     If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                              }
                                                                                                                    Yes            If "Yes"
       pending case involving this same                                                         Has detainer
                                                                                                                                   give date
       defendant                                               MAGISTRATE                       been filed?         No             filed


                                                          }
                                                                CASE NO.
                                                                                                                            Month/Day/Year
       prior proceedings or appearance(s)                                                       DATE OF
                                                                                                ARREST
                                                                                                               
       before U.S. Magistrate regarding this
       defendant were recorded under                                                            Or... if Arresting Agency & Warrant were not

                                                                                                DATE TRANSFERRED                         Month/Day/Year
Name and Office of Person
Furnishing Information on this form                      Martha Boersch                         TO U.S. CUSTODY
                                                                                                                              
                                  U.S. Attorney            Other U.S. Agency

Name of Assistant U.S.                                                                               This report amends AO 257 previously submitted
Attorney (if assigned)                        Nikhil Bhagat
                                                          ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                 NO PROCESS*               WARRANT              Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                     * Where defendant previously apprehended on complaint, no new summons or
                                                                                   warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                   Date/Time:                                 Before Judge:

        Comments:
                       Defendant also charged in CR 23-471 WHO - this is a related case
